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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 14−34441−RG
                                          Chapter: 7
                                          Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Darken Architectural Woodwork
   Installation, LLC
   601 Lehigh Avenue
   Union, NJ 07083
Social Security No.:

Employer's Tax I.D. No.:
  83−0344664

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that John Sywilok is discharged as trustee of the estate of the above named debtor(s) and the bond
is canceled; and the case of the above named debtor(s) is closed.


Dated: April 6, 2015                        Rosemary Gambardella
                                            Judge, United States Bankruptcy Court
